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                       EXHIBIT
                         A
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                                                                                          COMPLEX LOCATION: BROADWAY, VA/ MOOREflELD, WV

                                                    PILGRIM'S PRIDE CORPORATION
                                                   BROILER PRODUCTION AGREEMENT

      This Pilgrim's Prirfc Cor porotion Broiler Production Agreement (h erein after " Broiler Production Agreement" or "Agreement") is mnde

      ond entered in to by nnll between PILGRIM'S PRIDE CORPORA TrON, hercinnftcr cnlled th e " Compony" nnd                       fr./u/4
                                                                                                                                       l
                                                                                                                                           f'~11d, JJ..(!__
      hcrcinnftcr cn llccJ the "Independ ent Grower", elTectlvc the     J.l day of _ ,_ffl.....,{!M-L....,:=-'
                                                                                                             .,__ __,1 20~
                                                                                                              /,1,-          .


     WHEREAS, Company is engaged In, among other things, the growing and processing of broiler chickens (hereinafter referred to as 'Broilers'),

     WHEREAS it is necessary th at such Broilers be ra ised In conditions to comply with applicable regulatlong and lo ensure th at the Broilers ore of
     acceptable qualily,

     WliEREAS the lndependenl Grower has the proper farm, facllllies and equipment to raise Broilers for eventual processing, and

     WHEREAS It is the desire of both the Company and Iha Independent Grower that this phase of th e worl< be done by the Independent Grower.

    NOW, THEREFORE, in consideration of the mutual covenants and promises of th e parties hereo f, the Company and the Independent Grower
    covenant and agree as follows:

    A.        Engagement or the Independent Grower. Subject to the tem, s and conditions of this Agre ement, Independent Grower hereby covenants
   and agrees to perform the work and labor necessary to maintain tho proper facilities to rai se and prepare Broilers to be caught and caged for
   processing for th e Company. Such Agreement Is to continue unless larmln aled In accordance with tho provisions hereinafter contained. The work
   and labor herein provided for shall be done and performed by Independent Grower as an Independent contractor and under Its sole supervision,
   management, direction and control of day to day operations. The Company will not supervise Independent Grower's personnel or employees in the
   perfonnanc e of such worl< or as to th e manner, means and methods In which such work or labor Is performed other th an to assure that th e Broilers
   are raised In compliance with applicable laws and regulallons and the guldellnes of the Company,

         ADDITIONAL CAPITAL INVESTMENTS. ADD/n0NAL LARGE CAPITA L INVESTMENTS MAY BE REQUIRED OF
   INDEPENDENT GROWER DURING THE TERM OF THE AGREEMENT.


   B.         Fee. Tha fee paid by the Company to the Independent Grower for th e perform ance cf seNlcei by the tndopendent Grower In connection
   with th e engagement(s) shall be determined as described In Exhibit A. Independent Growers that are company employees (or immediate family
   members of an employee) or broiler se,vice contraclors will be excluded from the calculatlons used lo delermlne the average grower costs.

  C.         Term. The term of this Agreement shall commence on Iha date of execution of this Agre emen t, continue on a flock to flock basis, and
  shall terminate upon complellon cf the engagement(s) subject to the right of the Independent Grower or the Company to terminate this Agreement
  upon 1wi1ten notice as provided In this Agreement.

  0.       Termlnalion, Independent Grower shall have a right to terminate this Agreement until 12:00 Midnight on the third business day after the
  day on which Independent Grower signs the Agreement. Independent Grower shall provide wrilten notice of termination to the Live Production
  Manager or Broiler Manager.

            Ellher th e Independent Grower or the Company shall have th e right to terminate this Agreement and its Exhibits without any need for
  cause provided th at written notice Is given at least 90 days prior to the tennlnallon of this Agre ement. Any such written notice from the Independent
  Grower shall be glvon lo the Live Production Manager or Broiler Manager. Any such written notice shall be given from the Company to the
  Independent Grower staling the reaso n(s) for termin ation. when the termination Is effective, and appeal rights, If any, th at the Independent Grower
 may have wilh the Comp any. Termination during a noel< shall be In accord ance with the other terms of this Agreement. Should such termination
 occur, !he Company agrees to pay th e Independent Grower for all services performed In accordance with thi s Agreement untll termination of this
 Agre men t, and the Independent Grower agrees to perform all obllgahons until termin ation of this Agreement. Except for cause or economic
 necessity, Company will not terminate this Agreement without first requiring Independent Grower to follow the 'Cost Improvement Program" as
 described in xhiblt B.

          In th e event of gro ss negligence or abandonment cf the Brolle1s by tho Independent Grower, the Company shall have the right to take
over the ca re and possession or the Broilers on Independent Grower's poultry far·'l and complete the grow out In any manner Company sees fit. with
any and all expense incurred by Company being charged back to the Independent Grower, and at th e Company's option this Agreement. at that
time, may be terminated as provided In this Agreement.

           Independent Grower's default under any financing agreement and/or levy, seizure, or alt achment of Company property, insolvency or
bankruptcy of th e Independent Grower, shall be considered a material breach of this Ag reement and/or ils Exhibits, and the Company shall have 11,e
right to take over said worl< and complete it In any manner it sees Iii, wilh any and all expense above that th e Independent Grower would have
normally received for til e job being charged bacl< to the Independent Grower, and at th e Company's option thi s Agreement, at !hat time, may be
term inated.


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        E.         Representations and Warranties of Independent Grower The Independent Grower hereby represe nts and warrants to th e Company and
        agrees lh at:

        ('I) Independent Grower will neilher represent nor ho,d Itself out lo be an employee, agent, partner, representalive or /oinl venture of or wilh th e
        Company;

       (2) Independent Grower will pay all state, local and federal taxes which may arise from the provision of services under this Agreement;

       (3) Independent Grower will comply with all appllcable local, state and federal laws, rules and stalutes;

       (4) Independent Growe r has or will procure all licenses or perm 15 necessary or required to carry on ils business in th e locatlon s In which the
       lndependen l Grower operates.

       F.        RESPONSIBILITIES OF THE COMPANY:

       f)   Chlclts. The Company will provide Iha Independent Grower wHh chicks placed from th e hatchery without bias in their selectlon. The Company
            retains title to the5e chicks and bears the specified costs of producing them prior to delivery lo Independent Grower. The Company wlll provide
            the Independent Grower with proper advance notice of the chick delivery lime.
      2} Feed, The Company will provide th e Independent Grower wllh the feed necessary to produce the broilers. The Company retain s title lo any
           feed and bears th e specified costs of th e feed and the right to retain or dispose of excess feed,
      3) Scheduling, Number and Bread. The Compa ny shall determin e lhe number, frequency of placemen!, slze of broiler, and breed of birds. The
           Company will determine when and where Iha broilers shall be processed and will notify the Independent Grower of the processing
           arrangements.
      4) Catchin g and HauHng. The Company will provide th e labor nnd equipment necessary to ca tch and load the broilers, and to haul the llocl< to a
           processing plant at no cost to the Independent Grower.
     5) Property Damage. Any damage or theft to Independent Grower's property or equipment that occurs during ca tching, hauling or feed delivery
          that is proximately cau sed by the negligent act or omission or the Company or parties under ils control, provided that II is promptly reported and
          verified, will be reimbursed or replaced without cost to Independent Grower by the Company or parties under its control.
     6) Documents. The Company agrees to furnish copies or th e lndependenl Grower's chick delivery tlckels, re ed llckets, medica tion tickets, live
          weight tickets, condemnallon certmcale, settlement sheet, and a ranking sheet of all settlements for Iha week that the Independent Grower
          settled.
     7) Record Maintenance. The Company will mainlaln records of each Independent Grower's account for lhe legally required lime period.
    8) Certlned Scales. The Company will provide certllied scales to be used to weigh live broilers and feed. The Company shall use certified weigh
         masters to operate these scales. The Company shall make arrangements to use altern ate cerllfied scales In th e event the primary scale Is
         Inoperable.
    9) Observation of Weighing. The Company agrees that the Independent Grower or a family member/ farm manager Is entitled to observe the
         weighing of feed to be delivered to, or th e weighing or the live broilers from, his/her farm provided th at such actions do not Interrupt the nonnal
         production now of the Company's operations.
    1O) Payment. The Compa ny agrees to pay tho Independent Grower for services hereunder In 11ccordance with Exhibit A hereto.
   11) Vejerlnnry Sorvlces. The Company will provide veterinary services as necessary at no cost lo lhe Independent Grower. The veterl~arian
         shall be selected solely by the Company. The Compa ny ret.ilns tille to any medication that Is latt on Independent Grower's farm.
   '12) ech11lcal Assistance. The Company will provide technical advice at no cost to the Independent Grower. The Company's Field Service
        Supervisors shall visit the Independent Grower periodically to give advice and assistance as required to help maximize broiler performance
  13) Risk of Loss. The Company will bear the flnanclol risk of loss of birds, feed, and medication while th ese properties are In the Independent
        Grower's possession, provided th at such properties were not damaged or lost due lo a negligent act or omission of Independent Growor or
        parties under ils control or due to a breach of Independent Grower's conlractu al obligati ons under this Agreement. The Company retains tllle to
        any supplies it left on tho Independent Grower's farm.
  14) Dlsclalmer, EXCEPT AS SPEC IFICALLY SET FORTH HEREJN, COMPANY MAKES NO OTHER REPRESENTATIONS, GUARANTEES OR
        WARRANTIES, EXPRESS OR IMPLIED, WI TH RESPECT TO THE INDEPENDENT GROWER'S OPERATIONS UNDER TMIS AGREEMENT

  G           RESPONSIBILITIES OF THE INDEPENDENT GROWER:

  I)  Ba sic Housing, The Independent Grower shall provide and maintain proper housing, equipment, filter and ~i tilltles in accordance with th tJ
      Company's specifications and appllcable reg ulallons.
 2) Husbandry Mothotls, The Independen t Grower agrees to follow applicable laws and regulations as well as Iha Company's wrillcn and vorbal
      m,wagement recommendations, Including, but not limited to, wa tering, feeding, brooding, sanllallon, lilter, vaccination, medica tion, house
     environment. lighllng, pest control and blosecurlty.
 3) Labor. The Independent Grower agrees to provide the labor necessary to provide good husbandry during the growing period. The
     Independent Grower or his/her agent must be present when baby chicks arrive and fu rnish adeq uate labor to unload chicks.
4 ) Cotcfllng Preoaratlon. The l11dependent Grower will prepare the house for ca tching and follow the 1ecom1T1ended leed withdrawals The
     Independent Grower or his/h er agent must be present to walk th e houses with the crew foreman prior to the beginning of catching and lo
    determine th e number of dead birds. Olherwlse, th e Independent Grower will accept the crew foreman's determin ation of th e number of dead
    birds. Independent Grower will allow calchlng crews to utilize any needed fans end utilities.
5) ~        - The Independent Grower will maintain all-weath er roads to th e chiclten houses and provide adequate loading pads and space to lum
    vehicles. Failure to maintain roads, loading pads and turn-arounds will make the lndependenl Grower liable for wrecker ser.,ices and damages
    sustained by th e Company in access ing lhe facility.
6) Waste Disposal, The Independent Grower will dispose of all dead birds, manure and poultry house litter In accordance wlt11 Iha Dead Bird
    and Poull,y Mouse Liller Best Management Practices provided in Exhibit C to this agreement Further, the Independent Grower agrees to
    dispose of all dead birds and poultry house lilter In accordance wilh all applicable federal, state, and local laws , rules , and regulations where
    more stringent than the Best Managemenl Praclices provided in Exhibit C. Independent Grower agrees to have applied for or have a Waste


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               Management Plan from th e loca l office of lhe Natural Reso urce Conservation Service or similar agency or otheNlise be in compl.'ance with
               such agency requiremenls.                                                                                                          '
       7) Blosocurlty. Independent Grower agrees to prohibll the presence of poultry, fowl or ratltes of any kind on his/h er fam other lhan th at provided
              by lho Compan y. Independent Grower also agrees to make every effo rt to limll the movement of non-esse nllal people, vehicles and equipment
              in and aroun d th e poultry houses. In the event of a contagious disease outbreak threatening independent Growe r's farm, Independent Grower
              wlll comply with the ct;re ctlves of all local, state and federal agencies, as well as the guidelines of th e Company.
       8) Animal Welfare. Company maintains a program of animal welrare th at is designed to elimlnale unnecessary harm and suffering for poultry in
             th e day-to-day operalion of our production processes, Independe nt Grower represents and warranls th at Independent Grower will comply wit11
             th e Company and industry standards regarding animal welfare including. but not limited to, th e following provisions.
                    A Independent Grower will follow live produclion pradices that avoid unnecessary suffering, prevent destructive behavior, and prevent
                         disease while promoting good animal heallh.
                    B. Independent Grower wlll also follow the guidelines for animal welfare promulgated by the Company, included with the Grower
                        guidelines , with th e intent to promote the humane treatment and well-being of poullry through th e produclion process.
                   C Any Independent Grower who violates the Company anlmal welfare pplicy and associated procedures will be subject to tem,ination or
                        their Broiler Production Agreem ent.
      9) Approved Materlals. Independent Glower agrees to not uso any feeds, Insecticides, medlcallons, disinfectants, herbicides, pes ticides, wood
            preservatives, floor treatmen ts, roden tlcide or oth er similar malorials on lhe farm premises withou t the approval of the Company.
      10) Risk of Loss. The Independent Grower will bear th e financial risk of loss of Basic Housing, Labor, Catching Preparation, Roads and Waste
            Disposa l, provided that such loss Js not due solely lo a neg!lgenl act or omission of the Company or parties under its control.
      11) Safe Work Envlronmen L Independent Grower ag rees to main lain n sale wori<ing en vironment for represenlalives of the Company and their
           vehicles that must enter the premises to carry out their work assignments, Independent Grower shall allow Company employees, vehicles or
           agsnls lo enter th e premises at any time,
     12) Compllancs With All Laws and Rogulatlons. lndependenl Grower agrees lo comply with all applicable regulations and laws, whether
           federal, state or local,
     13) Record Keoplng. Independent Grower agree s to keep accurale records or mor1alily and oth er de tailed lnformiillon deemed necessary for
          sound management by the Compan y.
     14) Independe nce of Grower. Independent Grower Is an Independent contractor and Is not lo be considered in any way an employee of th e
          Company and Independent Grower shall be solely responsible for his/her own activ;lies. Independent Grower wlll be responsible for all of
          his/h er own agenls, employees, and subcon tractors as to wages, workers compensation , unemployment Insurance, and all other nomial and
          usual employer and employee expenses, and lndepe11dent Grower shall be responsible for all actions of those persons during th eir
         employment with 1he Independent Grower. Subject to th e oth er provisions of this Agreement, Independent Grower may Join or assist any
         association or organization of the Independent Grower's choico without any affect on this Agreement.

    H.        RESPONSIBILITIES OF COMPANY AND INDEPENDENT GBOYYER;

   1)     Best Efforts, The Company and Independent Grower agree lo use th eir bes t efforts In maintaining lhe broilers In such a manner that optimizes
          uniformity, heallh, livability, and the performance of th e broilers to market age. If Independe nt Grower fails to use best effor1s In management
          and/or housing of broilers and/or maintenance, or operation of equipment, th e Company has the right (at its option) to suspend placemenls of
          chicks unlil such deficiencies are corrected.
   2) Transferability. Independen t Grower may not assign or transfer lncJependent Grower's right s or obligations under lhis Agreement and/or ils
         Exhibits for the specific farm without the Company's prior written consent. Independent Grower understands and acknowledges that lhe
         Company reserves th e right lo require that there be lmprovemenls or upgrades to poullry llouses or to equipment on sucll farm before the
         Company gives consenl to any transfer, or grants a new con tract, and Ille Company Is under no obligation whalsoe ver to approve a transfer of
         the Independent Grower's rights or obllgatlons under this Agreement and/or ils Exhibits or grant a new co ntract. Company's rights and
        obligations under this Agreement and/or ifs Exhibits can be transferred or assigned without the lndependonl Grower's consent to any enllly or
        other person acquiring Company by merger, or purc hasing all or substan tially all of Company's as.els, or acquiring all or subslan tl ally all of th e
        assels of lhe Company. Furthor, Company may, without Independent Grower's consent, transfer Independe nt Grower and the performance of
        Company's obligations under this Agreem ent to another or Company's Complexes. Additionally, Company may, without Independent Grower's
        consent. transfer Company's rights (but not any of its obligations) under this Ag1eemen t as collaleral securit y to any Iender(s) or agen t{s) acting
        on its behalf providing secured financing lo the Company. Upon nollce of the occurrence of any event of default delivered to Independent
        Grower by such lender{s) or agenl(s) under the applicable secured financing (which notice Independent Grower may roly on conclusively and
        without th e consent of or notice to Company), the Compa ny's lender(s) and agenl{s) shall be enlilied to exercise any and all rights and
       remedies of Compa ny under lhis Agreement 11nd Independanl Grower shall comply with the exercise or such righ ts by Company's lender{s)
       and agent(s); provided th at such lender(s) and agent(s) shell nol be obllgaled to exercise any such righ ts, and th e failure lo do so shall nol
       tesu lt in any llabllily to any such lender(s) or agent(s).
 3) Incurred Expenses. Any agreed upon expenses paid by th e Company on the Independent Grower's behalf under tl1is Agreement are hereby
       au th orized to be deducted from Independent G1ower's payment prior lo any other amounts being paid to Independent Grower or !heir
       ass ignees. The Company will provide an ilemlzatlon or such deduclions In writing at the tim e of payment.
 4) Llablllty and Indemnity of Independent Growe r, Subject to the provisions for arbitra ilon as herein provided, Independent Grower agrees to
      Indemnify, defend, and hold the Company, 11s officers, employoes, agenls, and representatives harmless against any and all claims, damages,
      liab ilities, losses , aclions, and expen ses, Including Injury to any employee of or to any property of tir e Company, proxima tely caused by
      negligent acls or omissions or Independent Grower or his agenls , employees, sub-con tractors or parties under Its control, In th e performance of
      Independent Grower's duties hereunder. Independent Grower furth er agrees to Indemnify, defend and hold th e Company harmless from and
      against any and all losses, claims, damages, and acllons, including federal, state, or loca l administrative actions, ruling s and all other actions of
     any nature wha tsoever which are In any manner ca used by or which resu lt from the presence of the broilers on the prem ises of Independent
     Grower, Including, bul not.necessarily limited lo matters Involving emission complaints, disposal complaints, or pollution complaints, vlolation of
     law, and aI\y neg ligen l ac ts or omissions of Independent Grower In the performance of its obligations under this Agreemen t.
5 ) Llabll lty and Indemnity of Company. Subject to th e provisions for arbilratlon as herein provided, th e Company ag rees lo indemnify, defend,
     and hold hamiless the Independent Grower from and against any claims , damages, llabliitles, losses and expenses for personal Injury or



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                 property damage {lo property olher lhan chicks or feed) proximately caused by negligent acts or omissions of the Company i11 the perfonnance
                 of ils obllgal/ons under this Agreement.
          6) THIRD PARTY PRooucrs . THE COMPANY PROVIDES ANY THIRD PARTY PRODUCTS, SUCH AS MEDICINES AND VACCIN ES "AS
                IS," AND DISCLAIMS ALL WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE AS TO THOSE
                ITEMS, EXCEPT TO TH E EXTENT PROVIDED BY MANUFACTURER.
         7) Arbitration. Except as provided under Subsection xii, all clalms between th e Company and Independent Grower arising out of or
                relatin g In any way lo the execution, Interpretation and performan ce of this Agreement and/or Its Exhibits, and/or tho dealings
               belwoen Independent Grower and Company, shall be submitted to binding arbitration conducted by a slngle arbitrator to be selected
               by tho partlos. If tho parties cannot agree on a single arbitrator, then the slngle arbitrator shall be selected In the following mnnner:
               (I) the arbitration shall bB conducted by Iha Dallas offlco or th e American ArbltraUon Association ("AAA"): (II) a slnglo arbitrator shall
               be solected from a 11st of nt least 7 lndlvlduals provided by the AAA; (Ill) the party demanding arbitration shall make the first, third
              and rlftl1 strikes from the 11st; (Iv) the second party shall make th e second, fourth and sixth strikes; and (v) the remaining lndlvldual
              from the orlglnnl fist of seven shall be the arbitrator. Rogardless of whether the parties select the single arbit rator without the
              ilSslstanco of tho AAA or whether the AAA conducts U1e arultratlon, the foll owlng procedures shall apply:
                        i. Eilher party (Company or Independent Grower) shall d_      emand arbitrallon In wrillng wilhfn one hundred twenty (120) days aller th e
                        alleged claim was known or reasonably should have been known by serving a copy of th e written demand lo the other party. If th e
                       Company demands arbitralion, lhe wrillen demand shall be provided to the Independent Grower. If the Independent Grower demands
                       nrbftmtfon, the wrflten demand shall be provided to the Company by mail to PIigrim's Pride Corporat.:on, Attn: Legal Dept., 1770
                       Promontory Circle, Greeley, CO 80634.
                       ii. The parlles hereby agree that the arbitrator selected shall be a neutral and lmparfial arbitrator.
                      iii. The arbitrator shall be a person having knowledge of or experience wlth respei:t to th e poultry produclion induslry.
                      iv. Each party shall bear lls own arbflratlon costs and expenses, and the costs and expenses of the arbilralor shall be shared jointly and
                      equally between the parties.
                      v. The arbitration heilrfng shall be held wilhin the specified venue or an agreed•to location , At least twenty (20) days advance notice of
                     the hearing date, time and locallon shall be provided to bolh parties.
                     vi. Discovery shall be permilled In connection wilh the arbllratlon only to the extent, If any. expressly aulhorized by th e arbitrator upon a
                     showing of subslanllal need by th e party seeking discovery.
                     vii. The arbiltator shall have no power to award non-monetary or equitable relief of any sort. Tho arbilralor shall also have no power to
                     award (a) damages inconsistent with any applicable agreement between th e Par1Ies or {b) punlUve damages or any other damages nol
                     meosured by the prevailing party's actual damages, and the parties expressly waive lhefr right to obtain such damages In arbllratfon or In
                     any other forum.
                    viii. The arbitrator shall hear the evidence and te sllmony offered by the parties, and the arbitration hearing shall be concluded within len
                    (10) days from its starting date unless otharwise ordered by the arbitrator. The arbllrator will mal<e a decision within thirty (30) days from
                    lhe complellon or lhe hearing. Eilher party rnay ask for a reasoned award In writing, which shall be provided to the parties. Both parties
                   shall be alfowed a period of time to submit post-hearing briefs within a period of time designated by the arbitrator. Any award rendered by
                   lhe arbilrator shall be final and binding on all parties except as provided by law. Such Judgmonl or award rendered by the arbitrator may
                   be recorded or entered by either party In any court having jurisdiction purs uant to this Agreement.
                   ix. The parties stipulate that the provisions hereof shall be a complete defonse to any sull, action, or proceeding institufed In any federal.
                   state or focal court or before any administrative tribunal. The arbitration provision s hereof shall, with respect to any controversy or dispute,
                   survive th e lermlnatlon or expiration ·of this Agreement and/or its Exhibits.
                   x. Nothing here in contained shall -be deemed to give the arbitrator any authority, power, or right lo ofter, change, amend, modify, add to or
                  sublract from any cf the provisions of this Agre ement and/or Its Exhlblls.
                  Ki. Failure by eilher party to participate In the artJilralion process shall preclude that party from objecting to the arbitration proceedings ,
                  xii. INDEPEND ENT GROWER MAY DECLIN E TO BE BOUND e y ARBITRATION BYCOMPLETING THE INFORMATION AND
                  PLACING HIS OR HER SIGNATURES ON PAGE 6 OF THE AGREEMENT. If Independent Grower elects nol to be bound tiy this
                  Arbitration secllon, Independent Grower and Iha Company can neverth eless ogree to arbitrate any and all clafms between themselves
                  arising out of or relatlng In any way to the execution, interpretation and performance ofthfs Agreement and/or Its Exhibits by consenllng to
                  arbilralfon In writing after the clalm{s) arise,
  8)       Confldentlallty. Independent Grower acknowledges th at its employees and other representallves will be exposed to confidential and
           proprietary Information of Company during tho ordinary cours e of providing th e services conlemplatod by this Agreement. Independent Grower
          agrees lo use ils bes t efforts and to cause its employees and other representalfves to use th e same degree of care to maintain the
          confidentiality of such lnformalion as ii would and/or does wilh re:;pect to Its own proprietary and confidential business infonnalion.
          Independent Grower agrees to rerraln from dfsclosing any part of Company's confidential and proprietary rnrormatlon to a third party.
          Independent Grower further agrees not to use any confidential and proprietary business fnfomialion of Company for any purpose olher than the
          perfonnance or the Services described hereunder.
 9)       Busl ness Ethi cs Neither party will offer or provide to th e employees, agents or other' represenl allves of the other party any favors, gratuities.
         gills, paymenls, or anything of value, whether or not In an altempt to lnrluence such person's admfnlslfatlon of the provisions of Agreement or
         to olheN1lse gain unfair advantage Individually and/or relative to compellng suppliers/vendors.
         Additionally, each party wlfl imrnedlately report to th e other party aI1y requests made for favors gratuities, gills, payments, or anything of value
         by employees, agents or olher representatives of such party and will cooperate with respect to any Inquiry or investigation being conducted
         related to such actlvllfes or alleged activities. PIigrim's Pride has established its Pride Line wilh tho lolf.free number of 1·888-536-15 10 to
        report any unethical conduct.
 10)    Prior Agreements/Entire AgreemenL This Agreement supersedes, void s and nullifies any and all pre vious Broiler Produclfon Agre emenls
        and all other previous agreements governing th e relatfon shlp belwee n Independent Grower and Company. The Independent Grower and
        Company hereby release and exlinguish all claims that th ey may have aga inst each oth er under any previou s Stoller Production Agreement
        and all other previous agreemenls governing the relation ship between Independent Grower and Company This Agreement, and any Exhibits
        here to, constitute th e entire agreement between tho parties, and those documents supersede all ora l statemenls and olher communica tions
        made be fore th e execution of th ose documenls. Independent Grower ackn owledges th at In entering Into this Agreement, he/she has not relfed
        upon any statements th at are no l contained in this document, and/er th e Exhibits hereto.
·11 )   Vorba f Abuse or Physi cal Tb.real. Verb al abuse and/or pl1ysical violence or threat of violence by th e Independe nt Grower or his/her agenls to
        employees , represe nlatives, an ti/or agenls cf, and/or contractors hired by Company will not be tolera ted. Any threa tening physical action.


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            verbal threat, or abusive language by Independent Grower or parties under its control will re sult In imrnediate temiination or this Agre ement and
            ils Exhibits. Any reference to or presentaUon or weapons or firearms will be considered a physical threat. Company omployees,
            representatives, and/o r agents of, and/or ils contraclors will be expected to follow llke conduct In avoiding verbal abuse a11d/or physical vlolence
            or threat of violence.
      12} Unusual Circumstances, In th e event th e parties hereto shall fail to perform !heir obligatlons hereunder, th e same shall not cons titute a
           breach of this Agreement and/or its Exhibits, when and while, and to the extent that such failure shall be caused by an act of God, fire, riot,
           work stoppage, war, or compliance with acts or requests of any governmental authority beyond reasonable control of such party.
      13) No Modlncatlon Except In Writin g, The parties agree th.ii this Agreement and th e Exhibits here to may not be modified except in writing signed
           by both the Company and Independent Grower.
      14) Exc(usfon of Incidental, Consequential, and Certain Other Damages, TO THE MAXIMUM EXTENT PERMITTED ay LAW, NEITHER THE
           COMPANY NOR INDEPENDENT GROWER SHALL BE LIABLE TO ONE ANOTHER FOR AN Y SPECIAL. INCIDENTAL, fN OIRl:CT,
           NOMINAL, CONSEQUEt;HIAL, EXEMPLARY OR NON-COMPENSATORY DAMAGES WHATSOEVER ARISING OUT OF OR IN ANY WAY
           RELATING TO THIS AGREEMENT AND/OR ITS EXHIBITS, AND/ORTHE PERFORMANCE OF THE PARTIES UNDER THIS AGREEMENT
           AND/OR ITS EXHIBITS.
     15) O_pportunlty to Cons ult 'l'hlrd-Partles, Independent Grower acknowledges that he/she has had th e opporlunity to consult with third-parties
          including, but not necessarily ffmited to, legal and financial advisers, before entering Into this Agreement and its Exhiblls.
     1G) Sevarabllfty. The parties agree that If any of th e provisions of this Agre ement and/or Its Exhibits shall be held void for any reason, the
          rema ining provisions shall continue In full force and effect.
     17) Choice ·or Law and Venue. lndependenl Grower and the Company agree that dlspules should be arbilra ted as set forth above, The parties
          agree that the substanllve laws of the Slate In which th e farm Is located shall govern the lnterpretalion or this Agreement and/or tho Exhiblls
         hereto, and all other dealings belween Independent Grower and Company, even H Iha choice of law rules of that Slate would otherwise allow
         for the appllcatlon of the substantive laws or a different stale. IF ANY MATTERS IN DISPUTE ARE REQUIRED TO BE SETTLED BY
         LITIGATION, SUCH TRIALS WILL BE DECIDED BY A JUDGE. THE PARTIES WAIVE TRIAL BY JURY IN ANY SUCH ACTION(S) AND
         CONFIRM TMAT THIS WAIVER IS A MATERIAL INDUCEMENT TO THEIR BUSINESS TRANSACTIONS. ANY SUCH LITIGATION,
         ENFORCEMENT OF AN ARBITRATION RULING OR OTHER PROCEEDING 8E1WEEN THE PARTIES THAT MAY BE BROUGHT, OR
         ARISE OUT OF, IN CONNECTION WITH OR BY REASON OF THIS AGREEMENT SHALL BE BROUGHT IN THE FEDERAL DISTRICT
         COURT AND DIVISION IN AND FOR THE COUNTY IN WHICH THE FARM IS LOCATED AND SUCH COURT SHALL BE THE EXCLUSIVE
         COURT OF JURISDICTION AND VENUE.

         Signed on the dates lndlcaled below but effective as of the date Orsi writt en above.

   INDEPENDENT GROWER                                               ',

   Independent Grower Signnmn:

   1-Yrt (,~d 11, c.
   lndcpr1dent Grower Nome
                                                                                        Nnme. Michael S. Ellin gton


   1-1:e :12. 8dle1£                                                                    Tille: Operations   Manager

  Addr        y, Store, Zip Code 1                                                      Dnte· -   ---~"!•·-,/._.J,_t._1,,_  J_'"Z..-
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  Right to Decline Arbitration. A poultrv growe!', livestoc!, producer or swine prod11ctio11 contract grower has the
 right to decline to he bo1111d bv the arbitration provisions set fort/, in this Agreemer,t, A poultrv grower, livestock
 producer or swine production contract grower shall i11dicate whether or not it desires to he bound bv the arbitration
 provisio11s hp signing one oftlte fol/awing statements; O,ilure to choose an option will he treated fls iftl,e poultrv
 grower, livestock producer or swine production contract grower declined to he bo1111d bv the arbitration provisions
 set forth in this Agreement:

I decline to be hound bv the arbitration
provisions set forth i11 t!,is Agreement:

I accept tlte arbitration
provisions as set forth ill this Agreement:




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                                                           EXHIBIT A
                                           BROILER PRODUCTION PAYMENT SCHEDULE
                                              Broadway, VA / Moorefield, WV Complex
                                                      Moorefield Processed
                                                       Retrofit Tunnel Fog

     The Independent Grnwer shnll be paid by th e Company for Marke1able Broil er Live Weight pounds according to the formul a
     descl'ibed below. "Marketable Broiler Live Weight" is defined ns gross live weight at the prncessing plant or other recognized
     scale at the Company' s option. A "flock" is defin ed as birds from all houses under an individual Broiler Production Agreement.

     T he following procedure will detennine the payment to the Independent Grower in consideration for raising the Broilers:

            I)       Each week an average production cost, exclusive of Grower Payment, will be calculated for nll pounds marketed
                     during tJ1e calendar week in the complex. This cost will be designated as "Weighted Average Formula Cost."
                         The Weighted Average Fonnula Cost shall be the sum of:
                                     a) Total chicks placed for the complex times 20 cents per chick, plus
                                     b) Total pounds of feed used nt the comp lex times IO cents per pound of feed, plus
                                     c) Water medication used at the complex ilt the Compnny's cost,
                         with the total of a, b, and c divided by the complex's gross live pounds ofBroilers for the week.

                    To prevent irregular spreads in the weekly Weighted Average Formula Cost, any broiler flock whose Grower
                    Fommla Cost is ten (I 0) percent more than, or less than the Weighted Avernge Fonnula cost for the week will be
                    removed from the computation of the weekly Weighted Average Fonnula Cost. Independent Growers that nre
                    company employees (or immediate fomily members of an employee) or broiler service contractors will be excluded
                    from tl1e calculations used to dctennine the Weekly Average Fonnula Cost.
           2)       The individual Independent Grower's production cost per pound, exclusive of Grower Payment, will be calculated on
                    a fonnuln cost basis for each flock produced under the Broiler Production Agreement This cost will be designated as
                    "Grower Formula Cost."
                        The individual Grower Formula Cost shall be the sum of:
                                    a) Total chicks placed with the Independent Grower times 20 cents per chick, plus
                                    b) Total pounds of feed delivered to the Independent Grower less feed picked up with that
                                         difference multiplied by 10 cents per pound of feed, plus
                                    c) Water medication used by the Independent Grower at the Company's cost,
                        with the total of a, b, and c divided by the Independent Grower's gross live pounds of Broilers for the tloclc.
       3)          The Grower Payment per Marketable Broiler Live Weight pound for a flock with a "Grower Fonnuln Cost" LESS
                   than the "Weighted Average Fonnula Cost" in a week will be: 5.55 cents (base payment) PLUS the amount of the
                   difference between the "Grower Fonnula Cost" nnd the "Weighted Average Fonnuln Cost" for the week.
       4)         The Grower Payment per Marketable Broiler Live Weight pound for a flo ck with a "Grower Formula Cost" MORE
                  than the "Weighted Average Formula Cost" in a week will be: 5,SS cents (base payment) MINUS the amount of the
                  difference between the "Grower Formula Cost" nnd the "Weighted Avernge Formula Cost" for the week.
      5)          Under no circumsrnnces will the Grower Payment be less than 4.05 cents per pound Marketable Broiler Live Weight
                  pounds produced.
      6)          Any nnempt by the Independent Grower to manipul ate this form ula by using feed, chicks, or medication not
                  fu rn ished by th e Company fo r a particular flo ck will be grounds for immediate termination of the Broiler Production
                  Agreement and its Exhibits.
      7)          An energy allowance shull be paid in 11ddition to th e above Grower Pay ment on all flo cks pluced, provided that good
                  management practices are fo llowed os determ ined by the Company 's fie ld service technician. These good
                  management prac tices include, bu t are not limiled to, proper house preparation, proper brooding, and ventilati on
                  The energy nllowance payment w[II be 0.20 cents (two-tenths of a cent) per Marketable Broiler Li ve Weight pound.




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           8)           A tunnel fog house is a broiler house that meets all Company broiler house requirements and meets the tunnel
                       ventilation specifications but lacks an approved evaporative cooling pad system. Broilers grown in the Grower's
                       existing houses and in all other houses that do not meet all of the criteria outlined by the Company shall be subject
                       solely to payment according to the standard Exh ibit A Payment Schedule to the Broiler Production Agreement versus
                       the New House/Retrofit Tunnel Fog House Payment Schedule, and will be considered a separate flock from those
                       grown in tJ1e new or retrofit tunnel fog houses meeting all the Compnny requirements.

     Examp les of Grower Payment:

                    Examp le I)
                        Weekly Weighted Average Fonnula Cost                                           22.00 cents
                       Grower Fonnula Cost                                                             21. 80 cents
                       Difference                                                                         .20 cents {to be odded to bnse poymenl)
                       Bose Payment                                                                     5.55 cents
                       Total Grower Payment Per Marketable Broiler Live Weight Pound                    5.75 cents
                       Energy Allowance Year Round Weighted Averoge                                      .20 cents
                       Total Payment Per Marketable Broiler Live Weight Pound                           5.95 cents


                  Example 2)
                     Weekly Weighted Average Fonnula Cost                                              22.00 cents
                     Grower Formula Cost                                                               22.25 cents
                     Difference                                                                           .25 cents (lo be subtmctc<.I from b11Sc pnymcnt)
                     Base Payment                                                                       5.55 cents
                     Total Grower Payment Per Marketable Broiler Live Weight Pound                      5.30 cents
                     Energy Allowance Year Round Weighted Average                                        .20 cents
                     Total Pnyment Per Marketable Broiler Live Weight Pound                             5.50 cents


  Settlement checks will be moiled within ten (IO) working duys ufter the wee!c-end following lino! delivery of birds from all
  Growers which nre involved in settlements during said week. A Grower whose broilers nrc picked up in more than one
  c11lendnr wcel< will be grouped in the wcell the lust broilers are removed from the farm.


  INDEPENDENT GROWER



  Independent Grower Signature

   ilt'JJ? £ £11d
 lndep dent a'rowJrNam~
                                       iLC                                      Name: Micboel S. Ellington


                                                                                Title: Operations Manager
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                                                                           EXHIBITB
                                                         PILGRIM'S PRIDE CORPORATION
                                                         COST IMPROVEMENT PROGRAM


      Pilgrim's Pride Corporation has 11 Cost Improvement Program (the "Program") designed to help improve the
      performance of its high cost Independent Growers as set out below. The purpose of this program is to assist these
      Independent Growers in becom ing more competitive and cost effi cient. Participation in th is Program is determined by
      the Independent Grower's pny and the deviation from the average standard cost as established by the provisions of the
      Broiler Production Agreement.

     An Independent Grower will enter the Program when his or her average pay per pound is $.0050 or more under the
     average base payment for the contract over a successive period of 6 flocks. When this occurs, the Broi ler Production
     Manager, Service Techn ician, and Independent Grower will meet to discuss ideas to improve his or her performance
     and ways to achieve more cost effective production . The items to be reviewed may inc lude, but will not be limited to,
     items such as:

               u.        Poultry House Management-Discussion of day-to-day management of the broi lers.
               b.        Bird Density-Discussion of density options, with every effort made to reach a mutual agreement on
                         any density change,
               c.        Equipment and Housing Issues-Discuss ion of current issues other than replacement of existing
                         equ ipment.
              d.         Specific Disease Issues.

   Except as set out in this Exhibit B, all other terms and conditions of the Broiler Production Agreement remain in fu ll
   force and effect. During any probationary period of the Cost Improvement Program either the Company or the
   Independent Grower may elect at any time to exercise its rights to tem1inate the Broiler Production Agreement as
   noted in Section D of the Agreement.

   Wh ile in the Program the Independent Grower wi ll be placed on a probationary status for no less than three (3) flocks
   and must increase his or her average pay within $.0050 of the base payment for these three (3) successive flocks to be
  taken off of probationary status and re leased from this Program. If the Independent Grower's average pay does not
  improve to a level within $.0050 of the base payment fo r the first three (3) successive flocks after entering the
  Program, then th e Independent Grqwer's Broiler Production Agreement will be mod ified by removing the minimum
  pay per pound for the next three (3) successive flo cks and the Independent Grower will remain on probation nnd in the
  Program. lf, during tJiis extended probation of th ree (3) successive flocks the Independent Grower improves its
  performance sufficient to increase his or her average pay within $.0050 of the base payment for these three (3)
 success ive tlocks, then the Independent G1·owel' will be tnken off of probationary status and released from the Program.
 If, however, during this extended probation of three (3) successive fl ocl<s, lhe Independent Grower again foils to
 improve its perfoiman ce sufficient to increase his or her average pay to a level within $.0050 of the base payment for
 these three (3) success ive fl ocks, then the Company may tenninate the Independent Grower's Broiler Production
 Agreement.                                                                          -

At the Company 's sole discretion, based on mitigating circumstances, the Company may extend this Program on a
floc k to tlock basis wi th the understanding that the minimum pay per pound will remain removed from the
Independent Grower's Broi ler Production Agreement. If the Independent Grower does not improve its performance to
increase his or her average pay within $.0050 of the base payment for such fl ock, the Company may term inate the
Independent Grower's Broi ler Production Agreement or at its sole discretion extend the Program fo r another flo ck.

Performa nce factors caused by natural disasters or other conditions beyond the reasonuble control of the Independent
G rower may be considered exceptions to this Program nt the sole discretion of the Company.


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      The Independent Grower and the Company both acknowledge that the Cost Improvement Program is related to the
      Independent Grower's best effo1ts under the applicable Broi ler Production Agreement. Therefore, if the Independent
     Grower is in a Cost improvement Program at the time he or she enters into a new Broiler Production Agreement with
     its Exhibits, the Independent Grower's performance under the Cost Improvement Program before entering into the new
     Production Agreement will be considered in evaluating the Independent Grower's performance in the Cost
     Improvement Program after signing the new Broiler Production Agreement.




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                                                             EXHIBIT C
                                                DEAD BIRD AND POULTRY HOUSE LITTER
                                                   BEST MANAGEMENT PRACTICES


           DEAD BIRD BEST MANAGEMENT PRACTICES

           I.       All dead birds will be disposed of by one or more of the following approved methods:
                       n. Composting
                       b. lncinemtion
                       c. Rendering
                       d. Any other method npproved by tJ1e applicable state regulatory agency

       2.          fn the car;e of a major die-off that cannot be disposed of by the normal, approved means on that fann, the
                   Independent Grower will contact a Pilgrim's Pride Corporation representative within 24 hours to report the
                   loss. Pilgrim's Pride Corporation will call the appropriate state agency to obtain a permit for burial.



      POULTRY HOUSE LITI'ER BEST MANAGEMENT PRACTICES

      Where poultry house litter is land applied on property owned or leased by the Independent Grower, the following Best
      Management Practices, in conjunction with all applicnble state regulations pertaining to litter disposal, shall be
      followed:

      I.           Poultry litter should not be stored outside unless covered nnd proper controls, such as berms or dikes, are
                  utilized to prevent rainfall runoff from coming in contact with the litter.
   2.             Poultry lil1er should be evenly distributed over application sites at a rate not to exceed 5 tons per acre per year,
                  or as otherwise directed in a site specific land management plan.
  3.              Land application of poultry litter should not be undertaken when soil is saturated, frozen, or covered with
                  snow.
  4.              Poultry litter should not be applied on slopes with a grade of more than 15 percent.
  5.             Edge of field grassed strips should be used to separate watercourses from land application areas. Land subject
                 to excessive erosion should be avoided when applying litter.
  6.             Records should be kept by the Independent Grower of the dates, quantity, and specific sites where litter is
                 applied.
 7.              Vehicles used for transporting poultry litter on state or federally maintained roads or more than I mile on any
                 other public road should be covered or tnrped.

 Where poultry house litter is sold or given to another party for land application or other approved use, the following
  est Management Practices, plus any other state requirements, will be followed by the lndependent Grower:

 I.             Records should be kept by the Independent Grower of the dates, quantity, and individual or company
                receiving the litter.
2.              A copy of the above Best Management Practices to be utilized in the land application of the litter should be
                provided to the individual or company receiving the litter.




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                        s
                                 AMENDMENT TO BROILER PRODUCTION AGREEMENT
                                        EXHIBIT A - PAYMENT SCHEDULE
                                       Broadway,VA / Moorefield, WV Complex
                                               Moorefield Processed
                                                Ret'ifit Tunnel Fog                                                           I
                                                                                                                       1
This Amendment to Exhibit A Pwent chldule ("Ame ment'~ amends and modifies the Pilgrim's Broiibr Production
Agreement between                  / r- 1 e       .      · rJ J....                                 (Grower/Farm Name)
(hereinafter referred to as "Independent Grower'') and Pilgrim's Pride Corporation (hereinafter referred to as "Pilgrim's"
or ';Company"). Company and the Independent Grower agree to amend th e Broiler Production Agreement as follows:

      A. In Paragraph 3 on Exhibit A, the base payment shall be changed from 5.55 ce nts to 5.85 cents.


      8 . In Paragraph 4 on Exhibit A, the base payment shall be changed from 5.55 cents to 5.85 cen ts.


      C. In Paragraph 5 on Exhibit A, the minimum pay per pound shall be changed from 4.05 cents to 4.35 ccn ls.


      D. The Example of Grower Payment shall be deleted in its entirety and replaced with the following:

           Exam pfo of Growe r Pay men t:

                 Example I)
                    Weekly Weighted Average fonnula Cost                                                     22 .00 cents
                    Grower Fonnula Cost                                                                      2 1.80 cents
                    Difference                                                                                  .20 cents (to be nddcd lo base pnymcnl)
                    Base Payment                                                                              5.85 cents
                    Total Grower Payment Per Mnrketable Broiler Live Weight Pound                             6.05 cents
                    Energy Allownnce Year Round Weighted Average                                                .20 cents
                    Total Payment Per Marketable Broiler Li ve We ight Pound                                  6.25 cents


                 Example 2)
                    Weekly Weighted Average Formula Cost                                                     22.00 cents
                    Grower Formula Cost                                                                      22.25 cents
                    Difference                                                                                 .25 cents (lo I.Jc suh1rnc1cd from I.J ase p3ymcnl)
                    Base Payment                                                                              5. 85 cents
                    Total Grower Payment Per Marketable Broiler Live We ight Po und                           5.60 cents
                    Energy Allowance Year Round Weighted Avcrnge                                               .20 cents
                    Total Payment Per Marketable Broiler Live Weight Pound                                    5.80 cents


Except for the above-refere nced modifications per this Amendment to Exhi bit A - Payment Schedule, all other terms and
cond itions of the applicable Pilgrim's Broiler Production Agreement remain in full force and effec t.




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IN WITNESS WHEREOF, the parties have executed this Amenfent to Exh ibit A of the applicable Pilgrim's Broiler
Production Agreement effective on the _ L <lay of                20-1:f__.    fe.e                 ,

PllLGRIM'S PRIDE CORPORATION:                                                INDEPENDENT GROWER



By:                                                                          By:      CfJi,µ /(, j / ~
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